Case 2:10-md-02179-CJB-DPC Document 2525-2 Filed 05/24/11 Page 1 of 2

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

InRe: Oil Spill by the Oil Rig * MDL No. 2179
‘Deepwater Horizon” in the *
Gulf of Mexico, on *
April 20, 2010 * SECTION: J
*
This Document Relates to No. 11-1136 * Judge Barbier
** Mag. Judge Shushan
NOTICE OF HEARING

Please take notice that defendant, Marsh USA, Inc., will bring the attached Motion to
Sever for hearing before the Honorable Carl J. Barbier at the United States District Courthouse
for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, on the gh day

of June, 2011, at 9:30 a.m. or as soon after as may be heard.

Respectfully submitted,

Sn, * sae

William F. Grace; Jr., T.A. (#6199)
Philip R. Sims (#27644)

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Attorneys for Marsh USA, Inc.

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CERTIFICATE OF SERVICE

I hereby certify that on this zu day of May, 2011, a copy of the foregoing has been
filed with the United States District Court for the Eastern District of Louisiana by electronic
case filing. All counsel of record are being served with this filing by either the court’s
electronic filing system or by telefaxing and/or U.S. Mail.

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